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                                United States District Court
                               Northern District of California

 IN RE: ROUNDUP PRODUCTS                                       MDL No. 2741
 LIABILITY LITIGATION
                                                   MDL Case No. 3:16-md-02741-VC

 THIS DOCUMENT RELATES TO:                              Honorable Vince Chhabria

 Brent L. Graves et al v. Monsanto Co.,                Plaintiffs’ Response to
 No. 3:21-cv-09832-VC                                     Order Enforcing
                                                       Pretrial Order No. 240

        1.     Plaintiffs, Brent L. Graves and Barbara Graves respond to the Court’s Order (Dkt
18389) of May 21, 2024.
        2.     Plaintiffs submitted the necessary documents to Feinberg Law Offices on May 6,
2023. Additional information was requested from Feinberg Law Offices on October 6, 2023.
Plaintiffs forwarded the requested necessary information on November 21, 2023.
        3.     An offer of settlement dated December 27, 2023 was received on December 28,
2023. Thereafter settlement negotiations began with Mr. Donald Zimmer, Jr. and are ongoing.
        May 24, 2024


                                            Brent L. and Barbara Graves, Plaintiffs,

                                            By: /s/ David A. Domina
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                                            Plaintiffs’ Lawyers


                                      Certificate of Service

     I certify that on January 30, 2024, I Served the foregoing by filing with the Court using the
CM/ECF system which sent notice to counsel of record when accepted and filed.


                                              David A. Domina




11K2735
